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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 18-cv-01987-GPG

ERIC TYLER VETTE,

       Plaintiff,

v.

SANDERS, Deputy, K-9 Unit,
GUSTON, Seargent [sic], and
OX, K-9 Deputy,

       Defendants.


                                    MINUTE ORDER

ENTERED BY U.S. MAGISTRATE JUDGE GORDON P. GALLAGHER

         Plaintiff’s Motion for Extension of Time to Respond to Order to Cure Deficiencies
(ECF No. 7) is GRANTED. Plaintiff must cure the designated deficiencies by
addressing the filing fee on or before November 3, 2018. As set forth in the Order
Directing Plaintiff to Cure Deficiencies (ECF No. 3), Plaintiff must either pay the $400.00
filing fee or file a completed current Court-approved form Prisoner’s Motion and Affidavit
for Leave to Proceed Pursuant to 28 U.S.C. § 1915, which is available at
www.cod.uscourts.gov. If Plaintiff fails to do so within the time allowed, this action will
be dismissed without further notice.

       Dated: October 10, 2018
